Case 0:18-cv-60403-KMM Document 14 Entered on FLSD Docket 05/23/2018 Page 1 of 4



                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                 CASE NO. 18-60403-CIV-MOORE

  ABS-CBN CORPORATION, et al.,

                 Plaintiffs,
  vs.

  ANGPROBINSYANO1.COM, et al.,

                 Defendants.
                                                   /

             PLAINTIFFS’ EX PARTE MOTION FOR AN ENLARGEMENT OF TIME
           TO PERFECT SERVICE OF PROCESS UPON DEFENDANTS AND FOR THE
                              PARTIES TO CONFER

         Plaintiffs, ABS-CBN Corporation, ABS-CBN Film Productions, Inc. d/b/a Star Cinema,

  and ABS-CBN International (collectively, “Plaintiffs”), by and through their undersigned

  counsel, hereby move this Court, ex parte, for an Order granting Plaintiffs an enlargement of

  time to perfect service of process upon Defendants, and the time for the parties to confer

  pursuant to Rule 26(f). As grounds therefore, Plaintiffs state as follows:

         1.      On February 23, 2018, Plaintiffs filed their Complaint for Damages and

  Injunctive Relief against Defendants, (ECF No. 1). (See Declaration of Stephen M. Gaffigan

  (“Gaffigan Decl.”) ¶ 2.)

         2.      On February 26, 2018, Plaintiffs filed their Motion for Expedited Discovery,

  (ECF No. 6 *Sealed*). Plaintiffs’ Motion for Expedited Discovery requested the Court authorize

  Plaintiffs to immediately issue subpoenas for documents (including depositions as necessary) to,

  inter alia, Cloudflare, Inc. for documents related to the operators of websites operating under the

  Subject Domain Names identified on Schedule “A” to the Complaint, and any service providers,

  financial institutions and/or payment processors identified through the subpoenas authorized
Case 0:18-cv-60403-KMM Document 14 Entered on FLSD Docket 05/23/2018 Page 2 of 4



  herein for the purpose of determining the name(s) and service address(es) of the Defendants.

  (See Gaffigan Decl. ¶ 3.)

          3.     On March 15, 2018, the Court issued an Order Granting Plaintiffs’ Motion for

  Expedited Discovery (ECF No. 11) authorizing Plaintiffs to immediately issue subpoenas to, and

  depose only as necessary, Cloudflare, Inc. for documents and information regarding the websites

  operating under the Subject Domain Names identified on Schedule “A” to the Complaint, and

  any service providers, financial institutions and/or payment processors identified through the

  subpoenas authorized (the “Expedited Discovery Order”). (See Gaffigan Decl. ¶ 4.)

          4.     On March 14, 2018, the Court issued the Pretrial Order which required, among

  other things, the parties to confer within sixty (60) days from the filing of the Complaint, or

  April 24, 2018, and if all Defendants have not been served by the expiration of the deadline,

  requiring Plaintiffs to move to extend the confer deadline for a period not to exceed ninety (90)

  days from the filing of the Complaint, or May 24, 2018. On April 25, 2018, the Court entered

  Order (ECF No. 13) extending the parties’ confer deadline to May 24, 2018. (See Gaffigan Decl.

  ¶ 5.)

          5.     On March 19, 2018 Plaintiffs issued a Subpoena to Cloudflare, Inc., and Plaintiffs

  have received Cloudflare, Inc.’s response to that Subpoena, and Plaintiffs are currently auditing

  the documents produced. (See Gaffigan Decl. ¶6). Accordingly, Plaintiffs are preparing, and will

  be filing within the next seven (7) days, an Ex Parte Motion for Order Authorizing Alternate

  Service of Process on Defendants Pursuant to Federal Rule of Civil Procedure 4(f)(3) (the

  “Motion for Alternate Service”) requesting permission to serve the currently named Defendants

  with their respective Summons and the Complaint via electronic means and publication via an

  online serving site.   Upon granting of the Motion for Alternate Service, Plaintiffs will prepare

  and submit Summonses to the Clerk of Court for issuance in order to perfect service upon the

                                                  2
Case 0:18-cv-60403-KMM Document 14 Entered on FLSD Docket 05/23/2018 Page 3 of 4



  Defendants pursuant to Rule 4 together with notice of the requirements to confer and a request

  for Defendants to contact Plaintiffs’ counsel so the parties may confer as required by this Court.

  Although Plaintiffs’ are seeking authorization to serve the currently name Defendants pursuant to

  Rule 4, their diligent attempts to determine the true name(s) of the Defendants continues;

  however, Plaintiffs have yet to complete the audit of the response by Cloudflare, Inc. in order to

  determine Defendants’ true names and whereabouts. Plaintiffs will amend their Complaint

  identifying any additional Defendants discovered through the discovery authorized by this Court.

  (See Gaffigan Decl. ¶6). 

          6.      Accordingly, for good cause shown, Plaintiffs respectfully request an enlargement

  of time, for an additional thirty (30) days from the date of the Court’s Order granting this Motion,

  to perfect service upon the Defendants and for the parties to confer in order to allow sufficient

  time for the Court to rule on this Motion, and for Plaintiffs to finalize service of the Summons

  and Complaint upon the Defendants and provide notice to the Defendants of the requirement for

  the parties to confer.

          7.      This is the first request for an enlargement of time to perfect service upon the

  Defendants and second request for an enlargement of time for the parties to confer, and Plaintiffs

  submit no party will be prejudiced by the granting of same. (See Gaffigan Decl. ¶ 7.)

          WHEREFORE, Plaintiffs ABS-CBN Corporation, ABS-CBN Film Productions, Inc.

  d/b/a Star Cinema, and Plaintiff ABS-CBN International respectfully request the Court accept

  Plaintiffs’ response and grant the present motion to extend the deadlines to perfect service upon




                                                   3
Case 0:18-cv-60403-KMM Document 14 Entered on FLSD Docket 05/23/2018 Page 4 of 4



  Defendants and for the parties to confer for a period of thirty (30) days from the date of this

  Court’s Order

  DATED: May 23, 2018.                       Respectfully submitted,

                                             STEPHEN M. GAFFIGAN, P.A.

                                             By: _____s:/Stephen M. Gaffigan_______________
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                                                4
